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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

Civil Case Number: 3: {5~— €4/- S02-Oc- iO P4eD

Nedeyne Morcancrt

 

 

MS 2 2
(Write the full name of the plaintiff) hen A
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vs. - ©
DV Candy Sax SS, Lene 6

   

ausel nnex

(Write the full name of the defendant/s in this case)

COMPLAINT UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983

I. Party Information
A. Plaintiff: WeX@yyrne Moca act

Address: FWACA100 Pio UY Clace Ocala EAL BU4G eS
Inmate/Prison No.:_ W%S1Q7%

Year of Birth: \AA (Do not include day or month, pursuant to Fed. R. Civ. P 5.2)

(Write your name, address and prison/inmate number, if applicable)

 

 

vs.
B. Defendant: Pwd Yrosce'.S Defendant:
COOOROL Woes
Official Position: QyoC’sc Official Position:

 

 

Place of Employment: WOUce\\ Wane Place of Employment:

(Write the full name of each defendant, official position and place of employment. Attach a
separate page if you need additional space for additional defendants. )

Page | ok 2

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IJ. Statement of Claim

Briefly describe the facts of your case. Describe how each defendant is involved, names of other
persons involved, and dates and pl aces. Each claim should be stated in a separately num bered
paragraph. Please use short and plain statements, with separately numbered paragraphs indicating
why the relief requested should be granted. Do not ialude legal arguments or cite cases or statutes.
Attach additional pages, if necessary.

 

 

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Ill. Relief Requested

Briefly state what you are requesting from the Court (what do you want the Court to do). Do not
include legal arguments or cite cases or statutes. Attach additional pages, if necessary.

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IV. Jury Demand L
Are you demanding a jury trial? Yes No
Signed this aeuk dayof_ \W ,20\9

 

Signature of Plaintiff

I declare under penalty of perjury that the foregoing is truce and correct.

Executed on:

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Signature of Plaintiff

 

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